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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION

MaxRelief USA, Inc.,                     )
                                         )
         Plaintiff,                      )
                                         )
v.                                       )
                                         )     CASE NO. 5:22-cv-00270-LCB
Fulfyld, LLC,                            )
                                         )
         Defendant.                      )

                               PROTECTIVE ORDER

         For good cause shown under Federal Rule of Civil Procedure 26(c), the Court

GRANTS the parties’ joint motion for entry of a protective order (Doc. 26) and

ORDERS as follows:

       This Protective Order does not confer blanket protections on all disclosures of
responses to discovery, and the protection it affords extends only to the limited
information or items that are entitled under the applicable legal principles to be
treated as confidential.

         1.    Classified Information

      “Classified Information” means any information of any type, kind, or
character that is designated as “Confidential” by any of the supplying or receiving
persons, whether it be a document, information contained in a document, information
revealed during discovery, or otherwise.

         2.    Qualified Persons

         “Qualified Persons” means:

         a.    retained counsel for the parties in this litigation and their respective
staff;
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      b.     this Court and its staff and any other tribunal, special master, or dispute
resolution officer duly appointed or assigned in connection with this litigation;

      c.      litigation vendors, court reporters, video camera operators, translators,
and other litigation support personnel.

      d.     the party, if a natural person;

       e.    if the party is an entity, such officers or employees of the party who are
actively involved in the prosecution or defense of this case who, by their receipt of
Classified Information are bound by the terms of this Protective Order;

        f.     actual or potential independent experts or consultants (and their
administrative or clerical staff) engaged in connection with this litigation (which
shall not include the current employees, officers, members, or agents of parties or
affiliates of parties) who, by their receipt of Classified Information are bound by the
terms of this Protective Order;

      g.    jury and trial consultants and their staff and mock jurors who have
signed a document agreeing to be bound by the terms of this Protective Order;

       h.    any agent, broker, reinsurers, or service providers of a party, who, by
their receipt of Classified Information are bound by the terms of this Protective
Order;

      i.    any regulatory or governmental agency, if required by law or inquiry
from such regulatory or governmental agency;

       j.     any person who was an author, addressee, or intended or authorized
recipient of the Classified Information and who agrees to keep the information
confidential, provided that such persons may see and use the Classified Information
but not retain a copy; and

      k.     such other person as this Court may designate after notice and an
opportunity to be heard.

      3.     Designation Criteria

      a.     Classified Information. A party shall designate as Classified

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Information only such information that the party in good faith believes in fact is
confidential. Information that is generally available to the public, such as public
filings, catalogues, advertising materials, and the like, shall not be designated as
Classified Information.

        Information and documents that may be designated as Classified Information
include, but are not limited to, trade secrets, confidential or proprietary financial
information, operational data, business plans, and competitive analyses, personnel
files, personal information that is protected by law, and other sensitive information
that, if not restricted as set forth in this Protective Order, may subject the producing
or disclosing person to competitive or financial injury or potential legal liability to
third parties.

      Correspondence and other communications between the parties or with
nonparties may be designated as Classified Information if the communication was
made with the understanding or reasonable expectation that the information would
not become generally available to the public.


      b.     Ultrasensitive Information. At this point, the parties do not anticipate
the need for higher levels of confidentiality as to ultrasensitive documents or
information. However, in the event that the Court orders that ultrasensitive
documents or information be produced, the parties will negotiate and ask the Court
to enter an ultrasensitive information protocol in advance of production to further
protect such information.

      c.     Non-classified Information. Classified Information shall not include
information that either:

             i.     is in the public domain at the time of disclosure, as evidenced by
                    a written document;

             ii.    becomes part of the public domain through no fault of the
                    recipient, as evidenced by a written document;

             iii.   the receiving party can show by written document was in its
                    rightful and lawful possession at the time of disclosure; or

             iv.    lawfully comes into the recipient’s possession subsequent to the
                    time of disclosure from another source without restriction as to

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                    disclosure, provided such third party has the right to make the
                    disclosure to the receiving party.

      4.     Use of Classified Information

        All Classified Information provided by any party or nonparty in the course of
this litigation shall be used solely for the purpose of preparation, trial, and appeal of
this litigation and for no other purpose and shall not be disclosed except in
accordance with the terms of this Protective Order.

       Any person who reviews or receives Classified Information shall not disclose
such information to any other person except as allowed by and in strict conformity
with this Protective Order. Attorneys of record shall advise all persons who are given
access to Classified Information of the terms of this Protective Order and shall have
all persons who are given access to Classified Information other than members of
the attorneys’ staff sign a copy of this Protective Order to acknowledge their
familiarity with the terms of the Protective Order and its binding force. Individuals
who are shown Classified Information shall not be allowed to retain copies and shall
not use the Classified Information for any purpose unrelated to this litigation.
       5.    Marking of Documents

      Documents provided in this litigation may be designated by the producing
person or by any party as Classified Information by marking each page of the
documents so designated with a stamp indicating that the information is
“Confidential.” The designation should be made in a fashion or form that is
conspicuous yet allows the Classified Information to remain legible. In lieu of
marking the original of a document, if the original is not provided, the designating
party may mark the copies that are provided. Originals shall be preserved for
inspection.

      6.     Disclosure at Depositions

       Information disclosed at (a) the deposition of a party or one of its present or
former officers, directors, employees, agents, consultants, representatives, or
independent experts retained by counsel for the purpose of this litigation, or (b) the
deposition of a nonparty may be designated by any party as Classified Information
by indicating on the record at the deposition that the testimony is “Confidential” and
is subject to the provisions of this Protective Order.

      Any party also may designate information disclosed at a deposition as

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Classified Information by notifying all parties in writing not later than 30 days of
receipt of the transcript of the specific pages and lines of the transcript that should
be treated as Classified Information thereafter. Each party shall attach a copy of each
such written notice to the face of the transcript and each copy of the transcript in that
party’s possession, custody, or control.

       To the extent possible, the court reporter shall segregate into separate
transcripts information designated as Classified Information with blank,
consecutively numbered pages being provided in a non-designated main transcript.
The separate transcript containing Classified Information shall have page numbers
that correspond to the blank pages in the main transcript.

      Counsel for a party or a nonparty witness shall have the right to exclude from
depositions any person who is not authorized to receive Classified Information
pursuant to this Protective Order, but such right of exclusion shall be applicable only
during periods of examination or testimony during which Classified Information is
being used or discussed.


      7.     Disclosure to Qualified Persons

       a.     To Whom. Classified Information shall not be disclosed or made
available by the receiving party to persons other than Qualified Persons except as
necessary to comply with applicable law or the valid order of a court of competent
jurisdiction. But if a disclosure is compelled by law or court order, the receiving
party will notify the producing party as promptly as practicable (if at all possible,
before making such disclosure). The receiving party shall seek a protective order or
confidential treatment of such information or cooperate with the producing party to
protect the information.

       b.      Retention of Copies During This Litigation. Any documents produced
in this litigation, regardless of classification, that are provided to Qualified Persons
shall be maintained only at the office of such Qualified Person and only necessary
working copies of any such documents shall be made. Copies of documents and
exhibits containing Classified Information may be prepared by independent copy
services, printers, or illustrators for the purpose of this litigation.

      8.     Unintentional Disclosures

      Documents unintentionally produced without designation as Classified

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Information later may be designated and shall be treated as Classified Information
from the date written notice of the designation is provided to the receiving party.

      If a receiving party learns of any unauthorized disclosure of Classified
Information, the party shall immediately upon learning of such disclosure inform the
producing party of all pertinent facts relating to such disclosure and shall make all
reasonable efforts to prevent disclosure by each unauthorized person who received
such information.

      9.     Consent to Disclosure and Use in Examination

       Nothing in this Protective Order shall prevent disclosure beyond the terms of
this Protective Order if each party designating the information as Classified
Information consents to such disclosure or if the Court, after notice to all affected
parties and nonparties, orders such disclosure. Nor shall anything in this Protective
Order prevent any counsel of record from utilizing Classified Information in the
examination or cross-examination of any person who is indicated on the document
as being an author, source, or recipient of the Classified Information, irrespective of
which party produced such information.
       10. Challenging the Designation

       a.     Classified Information. A party shall not be obligated to challenge the
propriety of a designation of Classified Information at the time such designation is
made, and a failure to do so shall not preclude a subsequent challenge to the
designation. In the event that any party to this litigation disagrees at any stage of
these proceedings with the designation of any information as Classified Information,
the parties shall first try to resolve the dispute in good faith on an informal basis, such
as by production of redacted copies. If the dispute cannot be resolved, the objecting
party may invoke this Protective Order by objecting in writing to the party who
designated the document or information as Classified Information. The designating
party shall then have 14 days to move the Court for an order preserving the
designated status of the disputed information. The disputed information shall remain
Classified Information unless the Court orders otherwise. Failure to move for an
order shall constitute a termination of the status of such item as Classified
Information.

       b.    Qualified Persons. In the event that any party in good faith disagrees
with the designation of a person as a Qualified Person or the disclosure of particular
Classified Information to such person, the parties shall first try to resolve the dispute
in good faith on an informal basis. If the dispute cannot be resolved, the objecting

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party shall have 21 days from the date of the designation or, in the event particular
Classified Information is requested subsequent to the designation of the Qualified
Person, 21 days from service of the request to move the Court for an order denying
the disputed person (a) status as a Qualified Person, or (b) access to particular
Classified Information. The objecting party shall demonstrate that disclosure to the
disputed person would expose the objecting party to a substantial risk of harm. Upon
the timely filing of such a motion, no disclosure of Classified Information shall be
made to the disputed person unless the Court enters an order preserving the
designation.

      11.    Manner of Use in Proceedings

       In the event a party wishes to use any Classified Information in affidavits,
declarations, briefs, memoranda of law, or other papers filed in this litigation, the
party shall do one of the following: (1) with the consent of the producing party, file
only a redacted copy of the information; (2) where appropriate (e.g., in connection
with discovery and evidentiary motions) provide the information solely for in camera
review; or (3) file such information under seal with the Court consistent with the
sealing requirements of the Court.
       Nothing in this Protective Order shall limit the parties’ rights or ability to offer
evidence at a hearing or trial. The manner of using any Classified Information at a
hearing or trial and the status of Classified Information resulting from any such use
will be determined by the Court.

      12.    Filing Under Seal

       The clerk of this Court is directed to maintain under seal all documents,
transcripts of deposition testimony, answers to interrogatories, admissions, and other
papers filed under seal in this litigation that have been designated, in whole or in
part, as Classified Information by any party to this litigation consistent with the
sealing requirements of the Court.

      13.    Return of Documents

       a.    Notwithstanding, subparagraph 13(b) below, not later than 120 days
after conclusion of this litigation and any appeal related to it, any Classified
Information, all reproductions of such information, and any notes, summaries, or
descriptions of such information in the possession of any of the persons specified in
paragraph 2 (except subparagraph 2(b)) shall be returned to the producing party or
destroyed, except as this Court may otherwise order or to the extent such information

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has been used as evidence at any trial or hearing. Notwithstanding this obligation to
return or destroy information, counsel may retain attorney work product, including
document indices, so long as that work product does not duplicate verbatim
substantial portions of the text of any Classified Information.

       b.     To the extent any regulatory retention requirements create the necessity
for a party to maintain any items that become part of a claim file, the party may be
retain the documents in a confidential manner in accordance with the appropriate
record retention policies.

      14.    Ongoing Obligations

       Insofar as the provisions of this Protective Order, or any other protective
orders entered in this litigation, restrict the communication and use of the
information protected by it, such provisions shall continue to be binding after the
conclusion of this litigation, except that (a) there shall be no restriction on documents
that are used as exhibits in open court unless such exhibits were filed under seal, and
(b) a party may seek the written permission of the producing party or order of the
Court with respect to dissolution or modification of this, or any other, protective
order.

      15.    Advice to Clients

       This Protective Order shall not bar any attorney in the course of rendering
advice to such attorney’s client with respect to this litigation from conveying to any
party client the attorney’s evaluation in a general way of Classified Information
produced or exchanged under the terms of this Protective Order; provided, however,
that in rendering such advice and otherwise communicating with the client, the
attorney shall not disclose the specific contents of any Classified Information
produced by another party if such disclosure would be contrary to the terms of this
Protective Order.

      16.    Duty to Ensure Compliance

       Any party designating any person as a Qualified Person shall have the duty to
reasonably ensure that such person observes the terms of this Protective Order and
shall be responsible upon breach of such duty for the failure of such person to observe
the terms of this Protective Order.

      17.    Waiver

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        Pursuant to FEDERAL RULE OF EVIDENCE 502, neither the attorney-client
privilege nor work- product protection is waived by disclosure connected with this
litigation.

      18.    Modification and Exceptions

      The parties may, by stipulation, provide for exceptions to this Protective Order
and any party may seek an order of this Court modifying this Protective Order.

      DONE and ORDERED February 22, 2023.



                                    _________________________________
                                    LILES C. BURKE
                                    UNITED STATES DISTRICT JUDGE




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